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                        COMMONWEALTH OF MASSACHUSETTS

SUFFOLK, SS.                                        SUPERIOR COURT DEPARTMENT
                                                    CIVIL ACTION NO.


DOMENIC CALAUTTI,            )
    Plaintiff,               )
                             )
V.                           )                                              4/12/2022
                             )
MASSACHUSETTS PORT AUTHORITY )
and JETBLUE AIRWAYS          )
CORPORATION,                 )
       Defendants.           )


                     COMPLAINT AND DEMAND FOR JURY TRIAL

        Now comes Domenic Calautti, Plaintiff in the above-captioned action and hereby files

this Complaint and shows the Court as follows:

                            FACTS COMMON TO ALL COUNTS

   1.      The Plaintiff, Domenic Calautti, is an individual residing in Boston, Suffolk County,

           Massachusetts.

   2.      The Defendant, Massachusetts Port Authority, is an independent public authority in

           the Commonwealth of Massachusetts with its principal place of business located at

           One Harborside Drive, Suite 200S in Boston, Suffolk County, Massachusetts.

   3.      Service may be made upon the Defendant, Massachusetts Port Authority, at its

           principal place of business located at One Harborside Drive, Suite 200S in Boston,

           Suffolk County, Massachusetts.

   4.      The Defendant, Massachusetts Port Authority, owns and operates Logan International

           Airport located in Boston, Suffolk County, Massachusetts.
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5.     The Defendant, JetBlue Airways Corporation (“JetBlue”) is a duly organized

       corporation with its principal place of business located at 27-01 Queens Plaza North

       in Long Island City, Queens County, New York.

6.     The Defendant, JetBlue regularly conducts and transacts business in the

       Commonwealth of Massachusetts.

7.     The Defendant, JetBlue, has hundreds of daily flights that originate, transfer or

       terminate at Logan International Airport located in Boston, Suffolk County,

       Massachusetts.

8.     Service may be made upon the Defendant, JetBlue, through its Registered Agent,

       Corporation Service Company, located at 84 State Street in Boston, Suffolk County,

       Massachusetts.

9.     On or about April 14, 2019, the Plaintiff, Domenic Calautti, was lawfully on the

       premises of Logan International Airport.

10.    At all relevant times, the Plaintiff, Domenic Calautti, was in the exercise of due care.

11.    At all relevant times, the Plaintiff, Domenic Calautti, had purchased a JetBlue airline

       ticket departing Oranjestad, Aruba and landing at Logan International Airport on

       April 14, 2019.

12.    Upon arrival at Logan International Airport, the Plaintiff, Domenic Calautti, was

       instructed to disembark the aircraft using the jetway, a moving bridge that connects

       the aircraft to the airport gate.

13.    The Defendants, Massachusetts Port Authority and JetBlue, were responsible to

       ensure that the jetway was properly maneuvered and appropriately docked to the

       aircraft so that passengers could safety disembark the aircraft.




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14.    The Defendants, Massachusetts Port Authority and JetBlue, negligently maneuvered

       and docked the jetway to the aircraft causing an unreasonably dangerous gap between

       the aircraft and the jetway.

15.    The Defendants, Massachusetts Port Authority and JetBlue, negligently failed to

       monitor and inspect the gap between the aircraft and the jetway and allowed the

       Plaintiff to disembark the aircraft despite the unreasonably dangerous gap between

       the aircraft and the jetway.

16.    The gap between the aircraft and the jetway was creating an unreasonably dangerous

       and unsafe condition for passengers disembarking from the aircraft.

17.    The Defendants, Massachusetts Port Authority and JetBlue, knew or in the exercise of

       due care should have known, that there was an unreasonably dangerous gap between

       the aircraft and the jetway.

18.    Despite their knowledge, the Defendants, Massachusetts Port Authority and JetBlue,

       negligently failed to warn the Plaintiff, that there was unreasonably dangerous gap

       between the aircraft and the jetway.

19.    On or about April 14, 2019, as a direct and proximate result of the negligence of the

       Defendants, Massachusetts Port Authority and JetBlue, the Plaintiff, Domenic

       Calautti, tripped and fell while disembarking from the JetBlue aircraft due to the

       unreasonably dangerous gap between the aircraft and the jetway.

20.    Notice of the claim of the Plaintiff, Domenic Calautti, pursuant to Massachusetts

       General Laws, Chapter 258, the Massachusetts Tort Claims Act, was presented to the

       Defendant, Massachusetts Port Authority on or about June 17, 2019, a copy of which

       is attached as Exhibit A.




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21.    The Defendant, Massachusetts Port Authority, has neither settled nor denied in

       writing the claim of the Plaintiff, Domenic Calautti, within six-months as prescribed

       by Massachusetts General Laws, Chapter 258, §4.

                                       COUNT I

                      (Negligence –Massachusetts Port Authority)

22.    The Plaintiff, Domenic Calautti, restates and incorporates by reference the allegations

       contained in paragraphs one (1) through twenty-one (21) as if set forth here in their

       entirety.

23.    As a direct and proximate result of the negligence of the Defendant, Massachusetts

       Port Authority, the Plaintiff, Domenic Calautti, has suffered and will continue to

       suffer great pain of body and anguish of mind; his ability to work and perform his

       usual activities has been restricted; his health has been impaired; he has been required

       to spend sums of money for continued medical care and treatment; and his ability to

       enjoy a normal life has been adversely affected.

24.    WHEREFORE, the Plaintiff, Domenic Calautti, requests that judgment be entered

       against the Defendant, Massachusetts Port Authority, plus interest, costs and

       reasonable attorney’s fees.

                                         COUNT II

                    (Failure to Warn – Massachusetts Port Authority)

25.    The Plaintiff, Domenic Calautti, restates, and incorporates by reference the

       allegations contained in paragraphs one (1) through twenty-one (21) as if set forth

       here in their entirety.




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26.    As a direct and proximate result of the negligent failure to warn by the Defendant,

       Massachusetts Port Authority, the Plaintiff, Domenic Calautti, has suffered and will

       continue to suffer great pain of body and anguish of mind; his ability to work and

       perform his usual activities has been restricted; his health has been impaired; he has

       been required to spend sums of money for continued medical care and treatment; and

       his ability to enjoy a normal life has been adversely affected.

27.    WHEREFORE, the Plaintiff, Domenic Calautti, requests that judgment be entered

       against the Defendant, Massachusetts Port Authority, plus interest, costs and

       reasonable attorney’s fees.

                                       COUNT III

                                 (Negligence –JetBlue)

28.    The Plaintiff, Domenic Calautti, restates and incorporates by reference the allegations

       contained in paragraphs one (1) through twenty-one (21) as if set forth here in their

       entirety.

29.    As a direct and proximate result of the negligence of the Defendant, JetBlue, the

       Plaintiff, Domenic Calautti, has suffered and will continue to suffer great pain of

       body and anguish of mind; his ability to work and perform his usual activities has

       been restricted; his health has been impaired; he has been required to spend sums of

       money for continued medical care and treatment; and his ability to enjoy a normal life

       has been adversely affected.

30.    WHEREFORE, the Plaintiff, Domenic Calautti, requests that judgment be entered

       against the Defendant, JetBlue Airways Corporation, plus interest, costs and

       reasonable attorney’s fees.




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                                             COUNT IV

                                   (Failure to Warn – JetBlue)

31.      The Plaintiff, Domenic Calautti, restates, and incorporates by reference the

         allegations contained in paragraphs one (1) through twenty-one (21) as if set forth

         here in their entirety.

32.      As a direct and proximate result of the negligent failure to warn by the Defendant,

         JetBlue, the Plaintiff, Domenic Calautti, has suffered and will continue to suffer great

         pain of body and anguish of mind; his ability to work and perform his usual activities

         has been restricted; his health has been impaired; he has been required to spend sums

         of money for continued medical care and treatment; and his ability to enjoy a normal

         life has been adversely affected.

33.      WHEREFORE, the Plaintiff, Domenic Calautti, requests that judgment be entered

         against the Defendant, JetBlue Airways Corporation, plus interest, costs and

         reasonable attorney’s fees.

       PLAINTIFF HEREBY DEMANDS TRIAL BY JURY ON ALL COUNTS

                                    Respectfully submitted,
                                    Plaintiff, Domenic Calautti,
                                    By his attorneys,


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                EXHIBIT A
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